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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-03056-MEH

JEFFREY LITTLE, individually and on behalf of all similarly situated persons,

         Plaintiff,

v.

WENDY’S INTERNATIONAL, LLC,

         Defendant.

                 JOINT STATUS REPORT AND PROPOSED SCHEDULE


       The Parties in this action, Defendant Wendy’s International, LLC and Plaintiff Jeffrey

Little, individually and on behalf of all similarly situated persons, in compliance with the Court’s

Minute Order issued on October 22, 2024 (ECF No. 44), hereby file the following Joint Status

Report and Proposed Schedule.

        1.     As the Court is aware, on April 12, 2024, this Court entered an order remanding

this action to the Denver County District Court, holding that Wendy’s filed an untimely Notice of

Removal. (ECF No. 33.)

        2.     Following the remand order, on April 22, 2024, Defendant filed a Petition for

Permission to Appeal under 28 U.S.C. § 1453(c) with the Tenth Circuit, requesting leave to appeal

this Court’s remand decision. Plaintiff opposed Defendant’s request.

        3.     On May 23, 2024, the Tenth Circuit granted Defendant’s petition. 10th Cir. No. 24-

703 (May 23, 2024).
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          4.     On June 7, 2024, Defendant filed its Opening Brief with the Tenth Circuit. On June

21, 2024, Plaintiff filed his response, to which Defendant replied.

          5.     During the pendency of Defendant’s appeal, counsel for the Parties remained in

frequent contact and continued a dialogue both directly and through mediator Anne Marie Estevez,

in an attempt to see if settlement could be reached. Through this dialogue, the Parties agreed to

participate in another full-day mediation with mediator Estevez on July 29, 2024.1

          6.     On July 11, 2024, the Parties filed a motion to extend the Tenth Circuit’s CAFA-

mandated decision deadline by 30 days, through August 21, 2024, to preserve this action’s posture

while the Parties engaged in the upcoming mediation.2 The Tenth Circuit’s Clerk of Court, per the

Tenth Circuit’s direction, granted this request. 10th Cir. No. 24-1232 (July 15, 2024).

          7.     On July 29, 2024, the Parties participated in a second mediation with mediator

Estevez. While the Parties did not reach a settlement on this date, the Parties, with mediator

Estevez’s assistance, continued settlement negotiations for the next two weeks, ultimately reaching

an agreement in principle to resolve all claims in this action on August 12, 2024.

          8.     After reaching an agreement in principle, the Parties filed a second motion with the

Tenth Circuit to extend the statutory decision deadline by an additional 50 days in order to give

the Parties additional time to finalize the long-form settlement agreement. The Tenth Circuit’s

Clerk of Court, per the Tenth Circuit’s direction, granted this motion on August 19, 2024, thereby



1
 Recall that, on December 29, 2024, this Court granted the Parties’ request to stay all proceedings in this matter to
accommodate the Parties’ first attempt at mediation with mediator Estevez. (ECF No. 23.) As indicated in the Parties’
Joint Status Report filed with the Court following that initial mediation, though the mediation was productive, the
Parties were unable to reach a settlement. (ECF No. 30.)
2
  Defendant removed this action pursuant to the Class Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4
(“CAFA”). (ECF No. 14.) Under CAFA, if a party appeals a remand decision, as was the case here, the appellate court
must render its decision within 60 days unless the parties agree to an extension. 28 U.S.C. § 1453(c)(2)-(3).


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extending the time limit to render the Tenth Circuit’s opinion through October 10, 2024. 10th Cir.

No. 24-1232 (Aug. 19, 2024).

         9.    On October 10, 2024 – the last day of the extended statutory deadline – the Tenth

Circuit issued its opinion affirming this Court’s remand order. 10th Cir. No. 24-1232 (Oct. 10,

2024).

         10.   Four days later, the Parties filed a joint motion with the Tenth Circuit seeking a

limited remand to this Court for the purpose of considering and issuing a preliminary and final

approval of the Parties’ class settlement agreement. Additionally, the Parties moved for a stay of

the Tenth Circuit’s mandate pending the resolution of all necessary settlement approval

proceedings in this Court.

         11.   On October 21, 2024, the Tenth Circuit granted the Parties’ motion, directing a

limited remand to this Court “to conduct any and all proceedings necessary to consider whether to

approve the parties’ proposed settlement agreement.” 10th Cir. No. 24-1232 (Oct. 21, 2024). The

Tenth Circuit further ordered the Parties to file a joint status report of the proceedings in this Court

on or before November 20, 2024, and every 30 days thereafter. Id.

         12.   As of the filing of this Joint Status Report, the counsel for the Parties have

exchanged drafts of the long-form settlement agreement and have been working through any

remaining areas of disagreement. On October 24, 2024, following a productive call regarding the

long-form settlement agreement, Class Counsel sent the latest draft of the agreement to Defense

Counsel. Defense Counsel has reviewed this draft and expects to provide Class Counsel with a

revised version soon. Further, Defendant is in the process of gathering the necessary data it will

be obligated to provide as part of an approved settlement agreement.



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        13.    Finally, pursuant to the Court’s Minute Order entered on October 22, 2024, the

Parties jointly propose the following schedule for the proceedings necessary to approve the

settlement agreement:

                Event                                               Date

 Filing of Motion Requesting            On or before November 15, 2024.
 Preliminary Approval of the
 Settlement and Proposed Order.
 Filing of Motion for Final             Within seven days after the end of the 45-day Claims
 Approval of the Settlement. On         Period.
 this same day, Plaintiff will
 separately file a Request for
 Attorneys’ Fees and Costs.
 Final Approval Hearing                 At least 90 days after the Court enters a preliminary
                                        approval order. This proposed date ensures that
                                        Defendant can comply with its obligations to provide
                                        notice of the proposed settlement to the appropriate
                                        federal and state officials, as required under 28 U.S.C. §
                                        1715.



        14.    As reflected in the table above, the Parties anticipate that they will be able to submit

their signed, long-form settlement agreement, as well as Plaintiff’s unopposed motion for

preliminary approval and proposed order by no later than November 15, 2024.




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       Respectfully submitted this October 28, 2024.

 /s/ Alexander Hood                             /s/ Jill S. Kirila
 Brian D. Gonzales #29775                       Cole A. Wist, Attorney Reg. 20488
 THE LAW OFFICES OF BRIAN D.                    David L. Coats, Attorney Reg. 51561
 GONZALES, PLLC                                 SQUIRE PATTON BOGGS (US) LLP
 2580 East Harmony Road, Suite 201              717 17th Street, Suite 1825
 Fort Collins, Colorado 80528                   Denver, CO 80202
 Telephone: 970.214.0562                        Telephone: (303) 830-1776
 Email: bgonzales@coloradowagelaw.com           Facsimile: (303) 894-9239
                                                Email: cole.wist@squirepb.com
                                                Email: david.coats@squirepb.com
 Alexander Hood, Atty Reg. # 42775
 HOOD LAW OFFICE, PLLC
                                                Jill S. Kirila
 PO Box 24753
                                                SQUIRE PATTON BOGGS
 Silverthorne, CO 80497
                                                2000 Huntington Center
 Telephone: (720) 381-4142
                                                41 South High Street
 Email:Alex@HoodLawPLLC.com
                                                Columbus, OH 43215
                                                Telephone: (614) 365-2700
                                                Email: jill.kirila@squirepb.com
 Counsel for Plaintiff
                                                Counsel for Defendant




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